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                           UNITED STATES DISTRICT COURT

                           MIDDLE DISTRICT OF LOUISIANA

ABBY OWENS, ET AL                      *        NO.: 3:21-cv-00242
                                       *
VERSUS                                 *        JUDGE: WBV
                                       *
LOUISIANA STATE UNIVERSITY,            *        MAGISTRATE JUDGE: SDJ
ET AL                                  *
                                       *
******************************************************************************
         MEMORANDUM IN SUPPORT OF JOINT MOTION TO COMPEL
         RICO CASE STATEMENT OR, ALTERNATIVELY, MOTION FOR
       RICO CASE STATEMENT PURSUANT TO FEDERAL RULE OF CIVIL
         PROCEDURE 12(e), MOTION FOR STATUS CONFERENCE, AND
     MOTION FOR EXTENSION OF TIME TO FILE RESPONSIVE PLEADINGS

       NOW INTO COURT, through undersigned counsel, come Defendants, Louisiana State

University, the Board of Supervisors of Louisiana State University and Agricultural and

Mechanical College, “O” The Rosy Finch Boyz, LLC, F. King Alexander, Joseph Alleva, Verge

Ausberry, Jonathan Sanders, Tracy Blanchard, Maria Fuentes-Martin, Sharon Lewis, James

Marchand, A.G. Monaco, Miriam Segar, Julia Sell, Michael Sell, Keava Soil-Cormier, Jennie

Stewart, and Edward J. Orgeron, Jr. (collectively, “Defendants”), who respectfully submit this

Memorandum in Support of their Motion to Compel Rico Case Statement Or, Alternatively,

Motion for RICO Case Statement Pursuant to Federal Rule of Civil Procedure 12(e), Motion for

Status Conference and Motion for Extension of Time to File Responsive Pleadings (“Motions”).

 I. FACTUAL BACKGROUND.

       On April 26, 2021, Plaintiffs filed a Class Action Complaint and Jury Demand, asserting

various claims against Defendants, among others, including federal and state civil racketeering

claims pursuant to the Racketeering Influenced and Corrupt Organizations Act, 18 U.S.C. §§ 1961-




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1968, and the Louisiana Racketeering Act, La. R.S. 15:1351, et seq.1 On June 25, 2021, Plaintiffs

filed an Amended Class Action Complaint and Jury Demand (“Amended Complaint”) that merely

added named plaintiffs and more defendants.2

        The crux of Plaintiffs’ allegations is, from roughly 2014 to 2020, Louisiana State

University (“LSU”) and its employees and third parties violated their Title IX obligations by

failing to maintain an adequate reporting, investigation, and disciplinary system for sexual assault

complaints.3 For this, Plaintiffs allege twenty (20) liability counts against various combinations of

grouped defendants, claiming violations of Title IX, § 1983, Section 504 of the Rehabilitation Act,

Americans with Disabilities Act (ADA), Louisiana tort law, the Racketeering Influenced and

Corrupt Organizations Act (RICO), and its state counterpart, the Louisiana Racketeering Act.4

        Recognizing the complexity of Plaintiffs’ racketeering claims and the numerous parties

involved, this Honorable Court issued a RICO Order, on July 28, 2021, focused on “establish[ing]

an efficient procedure for handling this RICO case.”5 In its Order, the Court correctly directed

Plaintiffs to file a “RICO case statement” identifying “the facts each plaintiff relies upon to initiate

this RICO complaint as a result of the ‘reasonable inquiry’ required by Federal Rule of Civil

Procedure 11.”6 The RICO Order contains twenty (20) enumerated paragraphs, with additional

sub-paragraphs, setting forth the specific information the Court requires Plaintiffs to include in

their case statement. For instance, the Court ordered each plaintiff to state, in detail and with

specificity: (1) the “alleged misconduct…and basis of liability of each defendant”; (2) “how each

victim was allegedly injured”; (3) the “pattern of racketeering…for each RICO claim,” including


1
  R. Doc. 1.
2
  R. Doc. 2.
3
  R. Doc. 1, at ¶¶ 110-352.
4
  The Louisiana Racketeering Act is also known as the Louisiana RICO Act. La. Prac. Emp. Law §14:24; Viking
Constr. Grp. v. Satterfield & Pontikes Constr. Inc., 728 F. App’x 405, 405 (5th Cir. 2018).
5
  R. Doc. 48.
6
  R. Doc. 48 (emphasis added).

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“the alleged predicate acts, the dates of the predicate acts, the participants in the predicate acts,

and the facts surrounding each predicate act”; and (4) the damages sustained by reason of the

RICO violations and the amount for which each defendant is allegedly liable.7 The information

the Court ordered Plaintiffs to supply in their case statement is equally as important and applicable

to their Louisiana RICO claims because Plaintiffs’ claims depend on the same allegations and

analogous legal provisions. Notably, the RICO Order also required Plaintiffs to identify “all state

claims” and “the specific defendants for each state claim.”

        The deadline for Plaintiffs to file the RICO case statement was originally August 17, 2021,

but was extended, at Plaintiffs’ request, until September 7, 2021.8 In the interests of efficiency

and economy, the Court allowed Defendants to file their responsive pleadings twenty-one (21)

days after the RICO case statement was filed, or by September 28, 2021.9

        On September 1, 2021, mere days before the RICO case statement filing deadline and

during the aftermath of Hurricane Ida, Plaintiffs requested all defendants’ consent to their filing of

a second amended complaint to remove their federal RICO claims only (Count XVIII). According

to Plaintiffs, removal of the federal claims would “eliminate the need for the filing of the RICO

statement,”10 despite their continued pursuit of their corresponding Louisiana RICO claims. The

next day, the U.S. District Court for the Middle District of Louisiana issued an emergency order

extending certain case deadlines and delays for thirty (30) days commencing from August 26,

2021, due to Hurricane Ida.11




7
  R. Doc. 48, at Nos. 2, 4, 5, 15-17 (emphasis added).
8
  R. Doc. 51; R. Doc. 54.
9
  R. Doc. 59; R. Doc. 60; R. Doc. 68 (Maria Fuentes-Martin’s response deadline ws extended to October 12, 2021).
10
   R. Doc. 71-2: TAF Exhibit A, at pp. 7-8.
11
   M.D. La. General Oder No. 2021-7, Omnibus Order Suspending Deadlines, signed by Chief Judge Shelly D. Dick
on September 2, 2021.

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        On September 7, 2021, the (pre-Ida) deadline for Plaintiffs to file their RICO case

statement, Plaintiffs, instead, filed a Notice of Dismissal, removing their federal RICO claims in

Count XVIII, as well as “paragraphs 535-542, 544-547, and 549-552” from their Amended

Complaint, while maintaining their state racketeering claims and certain non-consecutive

paragraphs of their federal RICO claims because they were “incorporated by refence” into “other

claims.” The other claims referenced by Plaintiffs include their Louisiana RICO claims.12

        After Plaintiffs filed their notice of dismissal, this Honorable Court issued its September

8th Order, resetting the deadline for Plaintiffs to file their case statement, in accordance with the

Court’s RICO Order, to September 27, 2021.13 The next day, Plaintiffs’ counsel advised defense

counsel that Plaintiffs would not consent to any additional extension of time for Defendants to file

responsive pleadings because Plaintiffs believe the RICO case statement is no longer necessary in

light of their dismissal of their federal racketeering claims. Plaintiffs’ counsel further advised that

they believe a status conference is not necessary and if defense counsel “think there is not enough

detail in [Plaintiffs’] nearly 600 paragraph complaint” to support their Louisiana RICO claims,

Defendants “are free to file a Rule 12(b) motion.” 14

     II. LAW AND ARGUMENT.

        A. The Court Should Compel Plaintiffs to File a RICO Case Statement.

        Defendants adopt and incorporate by reference, as if copied herein in extenso, the law and

argument contained in the Memorandum in Support of Motion to Compel Case Statement filed by

the Tiger Athletic Foundation (“TAF”).15 Like TAF, Defendants simply ask the Court to require


12
   R. Doc. 67.
13
   R. Doc. 70.
14
   R. Doc. 71-2: TAF Exhibit A, at pp. 1-2. Plaintiffs subsequently notified the Court and all defense counsel, on
September 13, 2021, after TAF filed its Motion to Compel RICO Case Statement, that Plaintiffs are not opposed to
an expedited briefing schedule or status conference should the Court determine either would be helpful but continue
to oppose all other relief sought by Defendants.
15
   R. Doc. 71-1.

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the filing of the case statement by Plaintiffs as ordered. Based on the words of Plaintiffs’ own

counsel, Plaintiffs have attempted to dismiss their federal racketeering claims to eliminate the need

to file a case statement and provide the information required by the Court in its RICO Order, while,

at the same time, continuing to pursue their state racketeering claims.16 If Plaintiffs are able to

avoid filing the RICO case statement by dismissing only their federal RICO claims against

Defendants, it will allow them to successfully circumvent this Honorable Court’s Order.

        The RICO case statement is a case management tool “born out of the great expansion in

the use of civil RICO [claims] in otherwise routine litigation.” Landry v. Airline Pilots’ Ass’n, No.

86-3196, 1988 WL 27035, *1 and n. 1 (E.D. La. Mar. 17, 1988), affirmed in part and reversed in

part on other grounds by Landry v. Airline Pilots’ Ass’n, 901 F.2d 404 (5th Cir. 1990); See also,

Raymond v. Blair, No. 09-5507, 2010 WL 11537936, * 2 (E.D. La. Oct. 8, 2010). It is a useful,

often “indispensable, means to understand the nature of the claims asserted” and how the

allegations satisfy the RICO statutory requirements. Id.; See also, Marriot Bros. v. Gage, 911 F.2d

1105, 1107 (5th Cir. 1990). The intent of the case statement is not to make the assertion of civil

racketeering claims more difficult; rather, its purpose is to assist in the administration of the

inherent complexities of such claims and make the RICO litigation more orderly and efficient.

        In their Complaint, under “Count XIX, Civil Violations of the Louisiana Racketeering,”

Plaintiffs make absolutely no attempt to differentiate among any of the defendants but simply lump

all twenty (20) defendants together in their allegations.17 Plaintiffs fail to identify the specific acts

each individual defendant allegedly engaged in, provide the dates of each alleged act, or describe

the circumstances surrounding each such act.18 Plaintiffs further fail to articulate each defendant’s


16
   R. Doc. 71-2: TAF Exhibit A, at pp. 1-2.
17
   R. Doc. 2, at ¶¶ 553-580.
18
   The RICO Order requires Plaintiffs to include this information as part of their description of the “pattern of
racketeering activity” – one of the most elusive of RICO’s concepts.

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alleged involvement or participation in the “enterprise” or specify the damages sustained by each

plaintiff as a result of each defendant’s alleged misconduct.19

         Because the Louisiana Racketeering Act is modeled after the federal RICO statute, the

statutory requirements for claims based on state law are equally as imprecise, uncertain, and

nebulous as those based on federal law.20 As a result, it is still necessary and relevant to Plaintiffs’

state racketeering claims for them to provide the specific detailed information requested in the

RICO Order, including: (1) the “alleged misconduct…and basis of liability of each defendant”;

(2) how each plaintiff was allegedly injured; (3) the “pattern of racketeering activity”…for each

RICO claim,” expressly identifying “the alleged predict acts, the dates of the predicate acts [and]

the participants in the predicate acts” and providing “a description of the facts surrounding each

predicate act”; (4) the damages sustained by reason of the RICO violations and the amount for

which each defendant is allegedly liable; and (5) the names of the individuals or other entities

allegedly constituting the enterprise.21 Requiring Plaintiffs to file their RICO case statement will

assist the Court and the parties in identifying, clarifying, and narrowing the complex issues – both

factual and legal – involved in this RICO case, and help to weed out unsupported and ill-conceived

claims, focus discovery, assist with motion practice, facilitate potential resolution, and provide a

blueprint for trial.




19
   R. Doc. 2, at ¶¶ 553-580.
20
   See State v. Nine Sav. Accts., 553 So.2d 823, 825 (La. 1989); Meadaa v. K.A.P. Enterprises, 2014 WL 6801636, *6
(W.D. La. 2014) (the Louisiana Racketeering Act is modeled off of the federal RICO act); La. Prac. Emp. Law §14:24
(“The Louisiana Racketeering Act (LRA), also known as the ‘Louisiana RICO Act,’ is similar to the Federal Racketeer
Influenced and Corrupt Organizations Act (RICO), and proscribes a pattern of racketeering activity…Although the
LRA is part of the Code of Criminal Procedure, it provides a civil cause of action similar to the federal RICO statute.”)
21
   R. Doc. 48 at Nos. 1-6, 15-17.

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         B. The Federal Rules of Procedure are Replete with Authority to Support the RICO
            Case Statement Practice.

         The Court’s authority to require a RICO case statement is “well-established in [the U.S.

Fifth] Circuit” and is amply supported by the Federal Rules of Civil Procedure, including Rules

11, 12 and 16. See Marriot Bros., 911 F.2d at 1107, 1109; Richard L. Bourgeois, Jr., S.P.

Hennessey, Jon Moore, Michael E. Tschupp, Racketeering Influenced Corrupt Organizations, 37

Am. Crim. L. Rev. 879, 1610 (2000). These federal procedural rules apply equally to all claims

asserted by Plaintiffs in this case – whether based on state or federal law – including their Louisiana

RICO claims.22

         First, as previously discussed, this Honorable Court has authority to compel the filing of

the RICO case statement pursuant to Federal Rule of Civil Procedure 11, detailing the facts each

plaintiff relies upon to initiate her RICO claims as a result of Rule 11’s “reasonable inquiry”

requirement.23 See, e.g., Marriot Bros., 911 F.2d at 1107, 1109; Raymond v. Blair, No. 09-5507,

2010 WL 11537936, *2-3 (E.D. La. 10/08/10); R.M. Perez & Associates, Inc. v. Welch, No. 85-

3263, 1987 WL 10869, *1 (E.D. La. 1987). This is precisely the basis upon which this Honorable

Court issued its RICO Order requiring Plaintiffs to file their case statement. The “reasonable

inquiry” requirement under Rule 11 applies to all claims asserted in federal court, including the

racketeering claims Plaintiffs are pursuing under state law.

         Second, the case statement “serves essentially the same function as an order for a more

definite statement under Fed.R.Civ.P. 12(e).” Landry, 1988 WL 27035, at *1 and n. 1; See also,




22
   See generally, Rule 11(b)(2); Aerosonic Corp. v. Trodyne Corp., 402 F.2d 223, 229 (5th Cir. 1968)(“Where
jurisdiction of the federal court is based on existence of federal question, federal law applies as to both substance and
procedure.”); Hanna v. Plumer, 380 U.S. 460, 465, 469-470, 472-474, 85 S. Ct. 1136, 1141, 1143-1145, 14 L. Ed. 2d
8 (1965)(Where jurisdiction of the federal court is based on diversity, “[f]ederal courts apply state substantive law and
federal procedural law.”).
23
   R. Doc. 48.

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Old Time Enterprises, Inc. v. Int’l Coffee Corp., 862 F.2d 1213, 1217 (5th Cir.1989). “RICO case

statements are an authorized and common use of [Rule 12(e)].” Expotech Engineering, Inc. v.

Cardone Industries, Inc., No. 19-1673, 2020 WL 1694543, *12 (E.D. Pa. 2020); See also, Elliott

v. Foufas, 867 F.2d 877, 880 (5th Cir. 1989). Indeed, the U.S. Fifth Circuit has upheld the

requirement that case statements be filed by plaintiffs in response to a Rule 12(e) motion. See,

e.g., Old Time Enterprises, Inc., 862 F.2d at 1217 (noting the impetus for the filing of a RICO case

statement was a Rule 12(e) Motion for More Definite Statement and affirming the district court's

decision to require its filing); Elliott, 867 F.2d 877 at 880.

         Third, Federal Rule of Civil Procedure 16 provides federal judges with broad powers to

manage the pretrial process, especially in “potentially difficult or protracted actions that involve

complex issues, multiple parties, difficult legal questions, or unusual proof problems.” Fed. R.

Civ. Pro. 16(c)(2)(L). Rule 16 is intended to be liberally construed to facilitate the use of pretrial

management techniques and subsection (c) provides an explicit authorization for special pretrial

procedures and encourages their use. See, e.g., Northland Ins. Co. v. Shell Oil Co., 930 F. Supp.

1069, 1074-1076 (D.N.J. 1996). It cannot be disputed that Plaintiffs’ racketeering claims involve

complex issues, difficult legal questions, multiple parties, and unusual proof problems. Therefore,

requiring Plaintiffs to file a case statement is a special procedure the Court is authorized to adopt

as an aspect of its power to control pretrial management under Rule 16.24 Id.; See also, Bourgeois,

Jon Moore, and Tschupp, Racketeering Influence and Corrupt Organizations, 37 Am. Crim. L.

Rev. at 1610.25




24
   Another source of authority for the use of RICO cases statements is under Federal Rule of Civil Procedure 83, which
in subsection (b) provides that “A judge may regulate practice in any manner consistent with federal law, [federal
rules]…and the district’s local rules.”
25
   Similar orders are also used in the antitrust arena and recommended by the Manual for Complex Litigation.

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           Finally, the Court has the inherent authority to require the filing of a case statement.

District courts routinely utilize case management techniques and procedures not expressly

authorized by any specific rules or statutes pursuant to their “inherent powers.” Inherent authority

remains a means by which judges adopt special procedures or practices to address difficult,

complex multi-party litigation and promote the efficient, effective, and economical administration

and determination of such cases.

           Accordingly, the Federal Rules of Civil Procedure 11, 12(e) and 16, together with the

Court’s inherent power to utilize procedures deemed necessary to control its docket and manage

its cases, provide sufficient authority for requiring Plaintiffs to file a RICO case statement.

     III. CONCLUSION.

           Because Plaintiffs continue to pursue state racketeering claims against all defendants,

supposedly premised on the same criminal enterprise and same predicate acts as their federal

racketeering claims, this is still a RICO case. Plaintiffs must still satisfy the same statutory

requirements for their claims – whether based on the Louisiana Racketeering Act or its federal

counterpart – and this Court has authority to order Plaintiffs to file a RICO case statement pursuant

to the Federal Rules of Civil Procedure, as well as its inherent powers. Accordingly, Defendants

respectfully request that this Honorable Court grant their motion and compel Plaintiffs to file a

case statement detailing the specific information required by its RICO Order.26

           Defendants further respectfully request that the Court extend their deadline to file

responsive pleadings until twenty-one (21) days after Plaintiffs’ filing of their case statement,

which tracks this Court’s original response deadline. Alternatively, Defendants respectfully

request a twenty-one (21) day extension of time to file responsive pleadings from the current



26
     R. Doc. 48.

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response deadline of September 28, 2021, or until October 19, 2021, due to the extensive damage

caused by Hurricane Ida, which left numerous attorneys involved in this matter displaced or

without essential services such as power and internet. Finally, Defendants ask that the Court

schedule a status conference with all parties to address the matters discussed herein.

Respectfully submitted by:

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